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                                                         Note changes made by the Court.
 1    RICKETTS LAW
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 2    540 El Dorado Street #202
 3    Pasadena CA 91101
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 4    Facsimile: (213) 995-3963
 5    Email:      morgan@morganricketts.com
      Attorneys for Plaintiffs Lourdes Toman, Antonio Paredes, and Alan Castro
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 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9
      LOURDES TOMAN, an individual,         )   Case No.: 8:20-cv-00046-JWH-KES
10                                          )   Complaint Filed: January 9, 2020
      ANTONIO PAREDES, an individual,       )   Department: Courtroom 6D
11    and ALAN CASTRO, an individual,       )   Hon. Karen E. Scott
                                            )
                Plaintiffs,                 )
12
                                            )
                       vs.                  )
13                                          )
      BREA POLICE DEPARTMENT;               )
14                                          )   PROPOSED ORDER FOR
      JERRY GLOMBOSKE, sued in his          )   STIPULATION RE SUBPOENA TO
15    individual capacity; FULLERTON        )   ADULT PROTECTIVE SERVICES
                                            )
16    POLICE DEPARTMENT;                    )
      FULLERTON POLICE OFFICERS             )
17    DAVIS CRABTREE (#1467),               )   Close of Discovery: December 11, 2020
                                            )
18    RICHARD HERRERA (#1260),              )   Trial: February 16, 2021
      MICHAEL MCCASKILL (#1449),            )
19                                          )
      DAVID MACSHANE (#1274),               )
20    KEVIN PEDROSA, and DANIEL             )
                                            )
      PEREZ (#1547), all sued in their      )
21
      individual capacities; and DOES 1-10, )
      inclusive;                            )
22                                          )
                                            )
23                                          )
                                Defendants. )
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28                                       -1-
                PROPOSED ORDER FOR STIPULATION RE SUBPOENA TO ADULT
                                PROTECTIVE SERVICES
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 1                                            ORDER
 2          Having reviewed and duly considered the above STIPULATION RE SUBPOENA TO
 3    ADULT PROTECTIVE SERVICES, the Court finds good cause to order, and hereby does
 4    order that the parties are to comply with the terms of the Stipulation as modified by the Court.
 5          IT IS SO ORDERED.
 6
 7
      DATED: October 16          , 2020        BY:
 8                                                    Hon. Karen E. Scott
 9                                                    Magistrate Judge of The United States
                                                      District Court, Central District of California,
10                                                    Southern
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              PROPOSED ORDER FOR STIPULATION RE SUBPOENA TO ADULT
                             PROTECTIVE SERVICES
     Case 8:20-cv-00046-JWH-KES Document 57 Filed 10/16/20 Page 3 of 5 Page ID #:502




 1    TO ALL PARTIES, THEIR ATTORNEYS, AND THE COURT:
 2           Plaintiffs Lourdes Toman, Antonio Paredes, and Alan Castro, (“Plaintiffs”); all
 3    remaining Defendants in the case: Fullerton Police Department, Davis Crabtree, Richard
 4    Herrera, Michael McCaskill, David MacShane, Kevin Pedrosa, and Daniel Perez
 5    (“Defendants”); and non-party Adult Protective Services/Orange County Social Services
 6    Agency (“APS”), by and through their counsel, voluntarily and with full knowledge and
 7    understanding of the provisions stated herein, agree to the following:
 8           WHEREAS, Plaintiffs have subpoenaed APS for records and testimony pertaining to
 9    James Leo Toman at 3336 Greenleaf Drive in Brea, California and also at 3106 Yorba Linda
10    Blvd. Apartment B4, Fullerton, California, for the time period 2005 to September 1, 2020;
11           WHEREAS, the records and testimony requested may only be disclosed subject to a
12    protective court order;
13           WHEREFORE, THE PARTIES STIPULATE TO THE FOLLOWING:
14           1.     The Responsive Records (defined as those records produced by APS pursuant to
15    this Protective Order) and transcripts of testimony relating thereto (“Transcripts”) shall be used
16    solely in connection with the present case including any associated appellate proceedings and
17    collateral review, and not for any other purpose.
18            2.      The parties agree that they shall not copy nor reproduce any portion of the
19    Responsive Records or Transcripts except where necessary to submit to the court or an
20    appropriate expert. If any Responsive Record or Transcript is required to be submitted to the
21    court, it shall be done with an application to file it under seal, in connection with court
      proceedings.
22
             3.     The Responsive Records, including Transcripts, shall not be provided to any
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      other third party other than the parties to the present action and the court. However, the records
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      produced and Transcripts subject to the present order may be copied and shown to and shared
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      with any expert, investigator, or other third party as long as the third party has agreed in writing
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      to be bound by the terms of the Protective Order.
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             4.    The reporting party name(s) and any Social Security/driver’s license/other
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              STIPULATION RE SUBPOENA TO ADULT PROTECTIVE SERVICES;
                           PROTECTIVE ORDER THEREON
     Case 8:20-cv-00046-JWH-KES Document 57 Filed 10/16/20 Page 4 of 5 Page ID #:503




 1    identifying account/classification numbers shall be redacted from the records prior to
 2    production.
 3             5.       Each person and/or party to whom disclosure of the information contained in the
 4    Responsive Records and Transcripts is made shall, prior to the time of disclosure, be provided
 5    by the person furnishing the materials a copy of this stipulated Protective Order, and shall agree
 6    in writing that he or she has read the stipulated Protective Order and understands its provisions.
 7    The writing must also include consent to be subject to the jurisdiction of this court with respect
 8
      to any proceeding related to the enforcement of this Protective Order, including a proceeding
 9
      for contempt. This paragraph does not apply to court personnel.
10
               6.       At the conclusion of this matter, whether through trial, appeal, collateral review,
11
      or other final disposition, all Responsive Records, Transcripts, and all copies, shall be
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      destroyed or sealed. This paragraph does not apply to court records.
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             7.     The Responsive Records disclosed to the attorney(s) of record for the parties shall
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      be provided upon request by APS after the signing of the present Order by the Court.
15
16
17    IT IS SO STIPULATED.
18
19    Dated:        October 15, 2020
20
21                                                  By:
                                                           Brooke A. Buchanan
22                                                         Attorneys for Defendants
23
24    Dated: October 15 , 2020

25
                                                    By:
26                                                         Morgan Ricketts
27                                                         Attorney for Plaintiffs




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                STIPULATION RE SUBPOENA TO ADULT PROTECTIVE SERVICES;
                             PROTECTIVE ORDER THEREON
     Case 8:20-cv-00046-JWH-KES Document 57 Filed 10/16/20 Page 5 of 5 Page ID #:504




 1    Dated: _October 15 , 2020

 2
 3
                                         By:
                                               Deborah B. Morse, Deputy County Counsel
 4                                             Attorney for Orange County Adult
                                               Protective Services
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             STIPULATION RE SUBPOENA TO ADULT PROTECTIVE SERVICES;
                          PROTECTIVE ORDER THEREON
